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                                                                                            - Page
                                                                                                       Fl LED
                                                                                                   ID # 61
                                                                                               DISTRICT COURT
                                                                                            DISTRICT OF NEBRASKA
                                                                                                     JAN 0 6 2017

                           IN THE UNITED ST AT ES DISTRJCT COURT                            OFFICE OF THE CLERK
                               FOR THE DISTRICT OF NEBRASKA


UNITED STA TES OF AMERIC A,                                  )        CASE N0._          _8:_
                                                                                            1_
                                                                                             5C_R
                                                                                                _1_5_8
                                                             )
                  P laintiff,                                )
                                                             )        PETITION TO ENTER A
                                                             )        PLEA OF GUILTY
   vs.                                                       )
JAMES S . CODER                                              )
          Defendant                                          )
                                                             )

              I,               JAMES S . CODER                             , the defendant, inform the judge that I
want to plead GUILTY to Count(s)                                          1I                 of the _ _ _ __
_ --.:..:..
       ln.:. .d=ic
              : =-t=..m
                      :. .'-'-e= n'-'-t=--- -- - - - ( i n dictment or superseding indictment or information) and
that the fo llowing answers are true:


A.       BACKGROUND QUESTIONS:

         1.       How old are you? - --34- - - - -

         2.       How much education have you had? _ S
                                                     ...;;..._
                                                          o _m_e'---'
                                                                   C""""o'--l""""
                                                                             le_g,&....;e ' - - - - - - - - - -

         3.       Have you ever been under the care of a doctor or in a hospital or institution for drug
                  or alcohol treatment or addiction?
                                                               Yes          No_x_
                  If so, when and w here?
                                             - - -- - - - - - - - - -- - -- -
         4.        Have you ever been under the care of a doctor or in a hospital for a mental or
                   emotional condition?
                                                            Yes _ _ No_x_
                   If so, when and where?
                                             - -- -- - - - - - -- - - -- - -
         5.       If an attorney is now representing you in this case:
                                                                       Michae l Maloney
                   a)      What is your attorney's name?
                                                                 - - -- - - - - - - - - --
                   b)      Have you had enough time to talk with your attorney ?
                                                               Yes _K_ No_ _

                   c)      Have you told your attorney everything abou~ your case?
                                                                Yes _X_      o_ _



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                   d)     Are you satisfied with the job he or she has done for you?
                                                                 Yes _x_ No _ _

                   e)     lf you have any objections to the way the attorney bas represented you, what
                          are those objections?




         6.        Do you understand the chargc(s) against you?
                                                              Yes ___x_ No


B.       CONSTITUTIONAL RIGHTS - WAIVERS

         The questions in this section are designed to inform you of valuable constitutional rights you
         will give up by pleading guilty.

         7.        Do you understand that you have a right to plead NOT GUILTY to every charge filed
                   against you?
                                                                 Yes _x_ No _ _

          8.       Do you understand that, if you plead NOT GUILTY , you have the following
                   constitutional rights :

                   a)     the right to a speedy and public trial by jury
                                                                  Yes X      No _ _

                   b)     the right to an attorney at all stages of the proceedings, and, if you cannot
                          afford to pay an attorney, one will be appointed to represent you
                                                                  Yes _J(. No _ _

                   c)     the right to see and hear all witnesses called to testify against you and the
                          right to cross-examine them
                                                                Yes --2( No _ _

                   d)     the right to use the court's subpoena power to compel the attendance of
                          witnesses and the production of other evidence at trial
                                                               Yes X No

                   e)     the right to take the witness stand or not, as you choose, and that you cannot
                          be required to take the witness stand
                                                                  Yes      X No

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                   f)     the right not to testify and the jury cannot take this as evidence against you
                                                                  Yes __x        o_ _

                   g)     the right to be presumed innocent until and unless the United States has
                          proven you guilty of the offense beyond a reasonable doubt by the unanimous
                          agreement of all 12 jurors.
                                                                Yes      x  No _ _

         9.        Do you understand that, if you plead GUILTY, you will be found guilty of the
                   offense without a trial and you will have given up all of the above rights, except the
                   right to an attorney?
                                                                   Yes X          o
         10.       Do you understand that, if you plead GUILTY to a felony offense, you will be
                   convicted of a felony? A felony conviction may deprive you of valuable civil rights,
                   such as the right to vote, to hold public office, to serve on ajury and to possess any
                   kind of firearm .
                                                                   Yes __x_ No _ _

         11 .      Do you understand that if you are not a United States citizen, that under
                   immigration law, your guilty plea will be considered by immigration officials in
                   determining whether you are deported, that is, removed from the United States?
                                                                Yes NA No _ _

         12.  Do you understand that in nearly all cases involving drug trafficking and in most
              federal felony cases, if you are not a U.S. citizen your guilty plea will result in
              your permanent removal from the United States?
                                                              Yes NA No
C.       SENTENCING-GENERAL

         The questions in this section are designed to assure the judge that you understand aspects
         of the sentencing process.

         Answer question 13 only if you are pleading guilty pursuant to an 11 (c )( 1)(C) agreement.
         Otherwise, move on to question 14:

          13.      Do you understand that the judge may accept or reject your plea agreement? If the
                   judge rejects your plea agreement, you may withdraw your guilty plea. If the
                   judge accepts your plea agreement, the judge must follow its terms. That is, the
                   judge must impose any specific sentence or apply the sentencing range, specific
                   Sentencing Guidelines provisions, policy statemen ts, or sentencing factors agreed
                   upon by you and the government in the plea agreement. Your sentence will follow
                   the terms of the agreement, which may be the same, greater or lesser than the
                   sentence you would have received bad you pleaded not guilty and had been
                   convicted by a jury.
                                                                  Yes _x_ No _ _


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         lf you answered question 13, skip question 14 and proceed to question 15 .


         14.       Do you realize that:
                  a)        if you plead GUILTY, the j udge may impose the same punishment as if
                            you had pleaded NOT GUILTY and had been con victed by a jury?
                                                                       Yes          o_ _



                  b)        the sentence you will receive is solely a matter for the judge to decide?
                                                                       Yes         No


                   c)       there is no guarantee your sentence will be within any parti cular sentencing
                            guideline range?
                                                                       Yes         No_ _
         15.:.     What are the mandatory min imum and maximum punishments required by
                   law for the offense or offenses to which you are pleading guilty?

                    Count       Imprisonment              Fine                Supervised       Special
                                                                                Release       Assessment

                               min        max      min           max         min        max
                        I               1 Ovrs               2')0K       J5 vrs      life       $1 ()()




         16.       Do you understand that probation is generally not available if there is a mandatory
                   minimum penalty?
                                                                       Yes _x_ No


         17.       W ill you be for fei ting any property to the United States as a result of your guilty
                   plea?
                                                                       Yes _)( No_ _


         18.       Do you realize that, if you plead GUILTY, the j udge may require you to make
                   restitution to any victim of the offense?
                                                                       Yes   x No_ _

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          19.      Do you understand that, if you are convicted of any offense consisting of
                   possession or distribution of controlled substances, you may be ineligible for any
                   and all federal benefits?
                                                                          NA ·o_ _
                                                                Yes


         20.       Do you realize that the judge must require you to pay on each count to which you
                   are convicted a special assessment as follows: each felony count $100; each
                   misdemeanor count $5 to $25?
                                                                Yes ~ No_ _


         21 .      If you are on probation, parole or supervised release from any court, do you know
                   that by pleading GUILTY here your probation, parole or supervised release may
                   be revoked and you may be required to serve time in that case in addition to any
                   sentence imposed upon you in this case?
                                                                Yes __)(_ No _ _


         22.       The presentence report is instrumental in determining appropriate sentencing
                   decisions, risk classification in the Bureau of Prisons, and identifying strategies
                   that will provide you with the greatest opportunity for success. Full participation
                   in the presentence process, including an interview, is your opportunity to provide a
                   detailed account of your background and any factors that could have an impact on
                   your success. The U.S . Probation Office believes your failure to fully cooperate
                   may limit sentencing options, programming availability, and other aspects of
                   supervision. Have you discussed this with your attorney?
                                                               Yes    X    No


D.       ADVISORY SENTENCING GUIDELINES


         You will be sentenced by the judge after consideration of the advisory federal sentencing
         guide!ines and other important pertinent factors. It is important that you understand
         certain consequences of these guidelines.


         23.       Have you spoken in detail with your attorney about the advisory sentencing
                   guidelines?
                                                                Yes       X No_ _




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         24 .      Have you thoroughly discussed with your attorney the sentencing table and the
                   concepts of "offense level" and "criminal history"?
                                                                Yes~          o


         25.       Do you understand that there are numerous factors that may increase your
                   sentence under the advisory sentencing guidelines?
                                                                Yes __x       o_ _



         26.       Do you understand that the judge is required to take into account all conduct,
                   circumstances, and injuries associated with your criminal conduct, whether or not
                   this conduct is charged by the government in the crime to which you are pleading
                   gui lty? Thus, under the advisory sentencing guidelines, the judge will consider
                   all relevant conduct at the time of sentencing, even if you arc pleading guilty to
                   less than all counts in the indictment.
                                                                Yes     X     o


         27.       Do you understand that parole has been abolished in the federal system? Thus, if
                   you are sentenced to a term of imprisonment, you will serve that tenn, less no
                   more than 54 days per year you earn for good conduct. There is no good conduct
                   time awarded on sentences of less than one year and one day.
                                                                Yes    X No- -
                                                                      --
         28.        Do you understand that, if you are sentenced to a term of imprisonment, the judge
                    will typically impose a period of supervised release to follow your release from
                    imprisonment?
                                                                Yes    x    No


         29.       Do you understand that during any period of supervised release your activities will
                   be limited by conditions set by the judge and that violation of any of those
                   conditions may result in the judge's revoking the term of supervised release,
                   requiring you to serve in prison all or part of the term of supervised release
                   without credit for time previously served on postrelease supervision, and imposing
                   another term of supervised release?
                                                                Yes    X    No

         30.       Do you understand that even though you may have a signed a cooperation plea
                   agreement, the government has the authority to decide whether to file a motion
                   requesting the judge grant you leniency as a result of cooperation? In most cases,
                   a judge cannot make the government file such a motion and absent such a motion


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                  the judge cannot impose a sentence less than the mandatory mirumum penalty
                  prescribed by law; and even if such a motion is filed, the judge may not grant such
                  a motion or grant you the leniency that you had hoped for.
                                                                 Yes ___NA No _ _
E. VOLUNTARY NATURE OF PLEA


         31.       Arc your plea of GUILTY and the waivers of your rights made voluntarily and
                   completely of your own choice, free of any force or threats from anyone?
                                                                 Yes
                                                                       x     No


          32 .     a)     Has any plea agreement been made by you with anyone which causes you
                          to plead GUILTY?
                                                                 Ycs __x No


                   b)     If so, exactly what is that agreement? (Attach the agreement, if it is in
                          writing)




                   c)     What are your reasons for entering into the agreement?
                            To accept responsibility and to accept the benefits of the
                            agreement


                   d)     Do you understand that the j udge may reject the agreement, if the judge
                          finds that the plea agreement is not in the interest of justice?
                                                                 Yes _ x No _ _


         33.       Has anyone made any promise that causes you to plead GUILTY, aside from the
                   promises, made in your plea agreement?
                                                                 Yes          No~


         34.       Has any officer, attorney or agent of any branch of the government (federal, state
                   or local) promised, suggested or predicted that you will receive a Lighter sentence,
                   or probation, or any other form ofleniency if you plead GUILTY?
                                                                 Yes _ _      No~



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        35.        Has the judge suggested what your actual sentence will be?
                                                                  Yes        No___x


         36.       Arc you under the influence of any kind of alcohol, medicine or drug that is, in the
                   least way, interferi ng with your ability to think clearly and understand exactly
                   what you are doing in answering these questions?
                                                                  Yes        J\o   X

         37.       Are you pleading GUILTY for any reason other than the fact that you are guilty?
                                                                  Yes         To   X


         38.       Is there any other information or advice that you want before you enter a plea?
                                                                  Yes         ·o   X


F. CONCLUS10N I FACTUAL BASIS


         39.       Has your attorney gone over all of these questions and your answers to them?
                                                                  Yes_x_ No
         40.       Do you understand all o f these questi ons?
                                                                  Yes   X    No
               If not, which questions don ' t you understand?_




         41 .      Are you GUILTY?
                                                                  Yes ___x_ No


         42 .      What acts did you do that cause you to think you are guilty of the charge(s) to
                   which you want to plead GUILTY?
                         See paragraph 118 of the plea agreement




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          43.      Limited English proficient defendants must answer the following question:
                   This petition and the other documents referred to in the petition including any
                   written plea agreement were read to me in my native Language by an interpreter.
                   The interpreter also interpreted all questions and answers between me and my
                   attorney in completing the above documents. I understood the interpretati on of
                   the above documents and of the questions and answers between me and my
                   attorney. ls this true?
                                                               Yes         No_ _




                                                                      Defendant




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                                  CERTIFICATE OF DEFENSE ATTORNEY


           I, as attorney for the defendant, hereby certify that:


            1.       I have read and fully explained to the defendant the all egations contained in the
                     indictment or information in this case.

                                                                                    11
           2.        The plea of guilty offered by the defendant to count(s)                    accords
                     with my understanding of the facts the defendant bas related to me, is consistent
                     with my advice to the defendant, and in my opinion is voluntari ly and
                     understandingly made.


           3.        I assure the court that I have advised the defendant about the sentencing
                     procedures under the advisory sentencing guidelines and 18 U. S.C. Section
                     3553(a) and have explained to the defendant the potential consequences of a pl ea
                     of guilty in light of the matters set out in section D of this petition.


          Signed by me in the presence of the defendant and after full discussion of the contents of
 this petition to enter a plea of guilty, thi s 14thday of December , 2 016.




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                        CERTJFICA TE OF PROSECUTING ATTORNEY


         I, as attorney for the government, hereby certify that:


        I have reviewed this petition to enter a plea of gui lty and in my judgment, acceptance of
the defendant's plca(s) of guilty to the charge(s) in question will not undennine the statutory
purposes of sentencing.


         Signed by me this 6th day of        .January              , 2017.



                                                    ~c[d/J;n(fi-




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                                DECLARA Tl ON OF INTERPRETER


        1, - - - - - -- - -- - -- - - -- - - -- - - ' have served as
interpreter in         (language) for the defendant in this matter, and:


         I.       l sight translated for the defendant, or interpreted between the defense attorney
                  and the defendant, the follow ing:     ex
                                                          all which appl y)
                  Indictment
                  Waiver of indictm ent
                  Information
                  Petition to enter a pica of gu ilty
                          Plea agreement
                  Other


         2.       1, sight translated the above documents for the defendant in the presence of the
                  attorney on the following occasions: (Insert all dates applicable)



         3.       During the session (s) set forth above, I interpreted the remarks of the defendant's
                  attorney to the de fendant, the responses of the defendant to the attorney, all the
                  questions the defendant asked and all the responses from the attorney.


         4.        The de fendant' s answers arc consistent with the questions asked by the
                  defendant's attorney.


         5.       l am proficient in the                  (language understood by the defendant) and
                  English languages and I am able to accurately sight translate written matters and
                  interpret oral conversation in the aforementioned languages.


    I declare under penalty of perjury that the forego ing is true and correct. Executed on this
_ _ day of _ _ _ __ _



                                                                Interpreter




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